         Case 1:22-cv-00323-CWD Document 28-1 Filed 01/25/23 Page 1 of 37




 Jared C. Kimball, ISB No. 5491
 LAWSON LASKI CLARK, PLLC
 675 Sun Valley Road, Suite A
 Post Office Box 3310
 Ketchum, Idaho 83340
 Telephone: (208) 725-0055
 Facsimile: (208) 725-0076
 jck@lawsonlaski.com
 efiling@lawsonlaski.com

 Attorneys Plaintiffs.

                             UNITED STATES DISTRICT COURT
                                     FOR THE STATE OF IDAHO

GERARD J. HART, solely in his capacity as Trustee
of the GERARD AND HEATHER HART LIVING                                  Case No. 1:22-cv-00323-CWD
TRUST dated February 28, 2014, and HEATHER
ANN HART, solely in her capacity as Trustee of the
GERARD AND HEATHER HART LIVING TRUST
dated February 28, 2014,
                                                                          AFFIDAVIT OF JARED C.
                       Plaintiffs,                                        KIMBALL IN SUPPORT OF
                                                                          REQUEST FOR ENTRY OF
 vs.                                                                      DEFAULT JUDGMENT

LEGENDS DEVELOPMENT COMPANY, a
Wyoming corporation; and GARY J. ENGMAN, an
individual,

                       Defendants.



                                                   AFFIDAVIT

        I, Jared C. Kimball, declare under penalty of perjury that the following facts are true and correct to

the best of my information and belief:

        1.      I, and my firm, are the attorneys for the Plaintiffs in this action.

        2.      This Court entered a Clerk’s Entry of Default pursuant to Rule 55(a) of the Federal Rules of

Civil Procedure on January 19, 2023 (ECF # 27).




AFFIDAVIT OF JARED C. KIMBALL IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT JUDGMENT -1
         Case 1:22-cv-00323-CWD Document 28-1 Filed 01/25/23 Page 2 of 37



        3.      This affidavit attests to the fact that to the best belief and knowledge of affiant, none of

Defendants is either an infant or an incompetent, nor is any defendant in the military service of the United

States of America.

        4.      As noted previously in Plaintiffs Initial Disclosures (ECF # 19), Plaintiffs’ have provided

an initial computation of damages, noting that “Plaintiffs’ computation of damages is still being investigated

and ascertained and is therefore yet continuing.” See Exhibit A at p. 5.

        5.      Plaintiffs initial calculation listed damages in the amount of $825,000.00 and includes a

breakdown of damages by the category of the defect repair/replacement required at the property at issue in

the above-captioned matter. Id.

        6.      Plaintiffs’ damages as noted in Exhibit A were derived from the written estimate of

Sawtooth Construction, Inc., a registered general contractor in the State of Idaho. See Exhibit B.

        7.      As described in Plaintiffs’ Verified Complaint, (at p. 14, ¶ 68), Defendants and Plaintiffs

agreed to a $250,000.00 “holdback” of the proceeds of sale of the property at issue to be kept in escrow for

the purpose of Defendants paying for unfinished/incomplete repairs. See Exhibit C (Addendum to Purchase

and Sales Agreement); see also, Exhibit D (Pioneer Title Withhold Agreement).

        8.      To date, of the $250,000.00 “holdback” monies held in escrow for repairs, $108,629.35 has

been paid out under the “Withhold Instruction” to Plaintiffs’ contractor (Sawtooth Construction, Inc.) to

conduct repairs at the property.

        9.      Because Plaintiffs have already received $108,629.35 in repair “holdback” monies, this

figure should be deducted from the total estimated repair figure (i.e., $825,000 - $108,629.35 =

$716,370.65).

        10.     On or about October 18, 2022, Defendants advised the escrow company not to make any

additional disbursement of the repair “holdback” monies to Plaintiffs’ contractor, and Plaintiffs have not

received any additional repair “holdback” monies since that time.




AFFIDAVIT OF JARED C. KIMBALL IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT JUDGMENT -2
         Case 1:22-cv-00323-CWD Document 28-1 Filed 01/25/23 Page 3 of 37



        11.     Therefore, Plaintiffs reasonably expect to incur $716,370.65 in repairs to the property at

issue herein, and Plaintiffs seek these monies through their Motion for Entry of Default Judgment and

accompanying pleadings.

        12.     Attached hereto as Exhibit E are true and correct copies of the time records from Lawson

Laski Clark, PLLC that reflect the time spent by my firm to investigate and prosecute this action. As

reflected in the attached, the total amount of attorneys’ fees and costs total $35,006.43 which reflects

attorneys’ fees in the amount of $32,547.09 and costs in the amount of $2,459.34.

        13.     To establish the outstanding amount due and owing from a client, this law firm prepares

time slips utilizing the “ProLaw” program describing costs incurred, the particular legal services performed,

together with the particular date such legal services were rendered, as well as designating the amount of

time spent on the particular matter. See Exhibit E.

        14.     To the best of my knowledge and belief, the itemization of fees and costs set out in Exhibit

E are true and correctly stated, were necessarily incurred, and are allowable by law.

        15.     The time and effort expended by Lawson Laski Clark, PLLC was necessary, appropriate

and reasonably incurred in prosecuting the instant matter. In this case, the sum for attorneys’ fees and costs

is reasonable due to the number of pleadings that took place during this litigation, which was originally filed

by Plaintiffs in Blaine County District Court, but later removed by Defendants to the United States District

Court for the State of Idaho.

        16.     In awarding attorneys’ fees, the court shall consider the factors set forth in Idaho Rule of

Civil Procedure 54(e)(3), which include the time and labor required, the novelty and difficulty of the

questions, the prevailing charges for like work, the amount involved and the results obtained, and the

reasonable cost of automated legal research if the court finds it was reasonably necessary in preparing a

party’s case.

        17.     In this action charges (costs) for the serving process and for retaining a private investigator

were necessarily incurred in the preparation, service of, and transmittal of both state and federal court




AFFIDAVIT OF JARED C. KIMBALL IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT JUDGMENT -3
Case 1:22-cv-00323-CWD Document 28-1 Filed 01/25/23 Page 4 of 37
        Case
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                                                     01/25/23 Page
                                                              Page 15 of
                                                                      of 737




 Edward A. Lawson, ISB No. 2440
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 jck@lawsonlaski.com
 efiling@lawsonlaski.com

 Attorneys Plaintiffs.

                              UNITED STATES DISTRICT COURT

                                   FOR THE STATE OF IDAHO

 GERARD J. HART, solely in his capacity as Trustee
 of the GERARD AND HEATHER HART LIVING                         Case No. 1:22-cv-00323-CWD
 TRUST dated February 28, 2014, and HEATHER
 ANN HART, solely in her capacity as Trustee of the
 GERARD AND HEATHER HART LIVING
 TRUST dated February 28, 2014,
                                                                  PLAINTIFFS’ INITIAL
                         Plaintiffs,                              DISCLOSURES

  vs.

 LEGENDS DEVELOPMENT COMPANY, a
 Wyoming corporation; and GARY J. ENGMAN, an
 individual,

                         Defendants.

        Plaintiff GERARD J. HART, solely in his capacity as Trustee of the GERARD AND

HEATHER HART LIVING TRUST dated February 28, 2014, and HEATHER ANN HART,

solely in her capacity as Trustee of the GERARD AND HEATHER HART LIVING TRUST

dated February 28, 2014 (“Plaintiffs”), by and through its attorneys of record, hereby submit the

following initial disclosures (“Initial Disclosures”) pursuant to the Jointly Proposed Discovery

Plan, Federal Rule of Civil Procedure 26(a)(1)(A), and Local Rule 26.2.


 INITIAL DISCLOSURES - 1
                                                                                            12673-001
                                                                                        Exhibit A
        Case
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                                                                      of 737




                                        QUALIFICATIONS

         The information in these disclosures is based on information currently reasonably

 available to Plaintiffs. Plaintiffs anticipate that further discovery, research, and analysis may

 supply additional facts, theories, and/or materials. Accordingly, Plaintiffs reserve the right to

 supplement these Initial Disclosures in accordance with Rule 26(e) of the Federal Rules of Civil

 Procedure.

         Nothing herein is intended nor should anything herein be construed as an admission of

 any fact, law, waiver or any privilege, or waiver of confidentiality. Plaintiffs, therefore, reserve

 all objections relating to the information contained herein.

         Plaintiffs specifically reserve and assert its objections to the production of documents and

 tangible things which are protected from disclosure by the following privileges:

 investigation/trial preparation materials pursuant to Rule 26(b)(3) of the Federal Rules of Civil

 Procedure; work product materials pursuant to Rule 26(b)(3) and (4) of the Federal Rules of

 Civil Procedure; consulting expert materials pursuant to Rule 26(b)(4)(D) of the Federal Rules of

 Civil Procedure; attorney/client communications; and materials protected by other applicable

 privileges.

         i.    Provide the name and, if known, the address and telephone number of each
               individual likely to have discoverable information that the disclosing party may
               use to support its claims or defenses, unless solely for impeachment, identifying
               the subjects of the information.

       To the best of these Plaintiffs’ knowledge, the following individuals may have discoverable

information:




 INITIAL DISCLOSURES - 2
                                                                                              12673-001
                                                                                           Exhibit A
       Case
        Case1:22-cv-00323-CWD
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     A. Gary Engman/Legends Development    As Defendant(s) in this matter, has
        Company                            information regarding the contract, defects
                                           and repairs at the property at issue
      Contact via counsel for Defendants



     B. Gerard Hart                        As a Plaintiff in this matter, has
                                           information regarding the contract, defects
     Contact via counsel for Plaintiffs    and repairs at the property at issue


     C. Heather Hart                       As a Plaintiff in this matter, has
                                           information regarding the contract, defects
     Contact via counsel for Plaintiffs    and repairs at the property at issue


    D. Mark Brown                          A realtor who has knowledge of the
                                           contract, defects and repairs at the property
       Pioneer Associates R.E. Brokers     at issue
       P.O. Box 5618
       Ketchum, Idaho 83340
       (208) 481.1519


    E. Blake Nelson                        A realtor who has knowledge of the
                                           contract, defects and repairs at the property
       Compass Mountain West LLC           at issue
       360 East Eve N. Unit 2 & 3
       Ketchum, Idaho 83340


     F. Preston Ziegler                    A construction professional who has
                                           knowledge of the defects and repairs at the
        Sawtooth Construction              property at issue
        513 N/ Main St., Suite # 1
        Hailey, ID 83333
        (208) 726.9070


     G. Tanner Sanders                     A home inspection professional who has
                                           knowledge of the defects and repairs at
      Method Home Inspection               the property at issue
      1908 Warm Springs Rd., Unit 13
      Ketchum, ID 83340
      (208) 659.2810




INITIAL DISCLOSURES - 3
                                                                                    12673-001
                                                                                Exhibit A
       Case
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     H. 5B Plumbing and Heating, LLC     A construction/plumbing/heating
         (Representatives of)            professional who has knowledge of the
                                         defects and repairs conducted at the
       P.O. Box 368                      property at issue
       Bellevue, ID 83313
       (208) 721.2101


     I. Bio Sandblasting Alternative     A construction/sandblasting professional
          (Representatives of)           who has knowledge of the defects and
                                         repairs conducted at the property at issue
       416 N. 3rd St.
       Bellevue, ID 83313
       (208) 720.6002


     J. Clearwater Landscaping           A construction/landscaping professional
          (Representatives of)           who has knowledge of the defects and
                                         repairs conducted at the property at issue
       105 Kingsbury Ln.
       Gannet, ID 83313
        (208) 788.5436


     K. Sawtooth Plumbing and Heating    A construction/plumbing/heating
          (Representatives of)           professional who has knowledge of the
                                         defects and repairs conducted at the
       722 N. Main St.                   property at issue
       Bellevue, ID 83313
       (208) 788.7920


     L. Idaho Custom Elevators           A construction/elevator professional who
                                         has knowledge of the defects and repairs
       Jennifer Hockman                  conducted at the property at issue
       1899 East Melwood St.
       Meridian, ID 83642
       (208) 890.2983


     M. Michael J. Ward, PE              An engineering professional who has
                                         knowledge of the property at issue
       P.O. Box 3086,                    regarding engineering and structural
       Hailey, ID 83333                  integrity matters



INITIAL DISCLOSURES - 4
                                                                                 12673-001
                                                                              Exhibit A
           Case
            Case1:22-cv-00323-CWD
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ii.   Provide a copy of, or a description by category and location of, all documents, electronically
      stored information, and tangible things in your possession, custody, or control that you may
      use to support your claims or defenses unless solely for impeachment.


           - See the documents attached hereto as Bates Nos. LLC000001-000441.


iii. Provide a computation of any category of damages claimed by the disclosing party, making
     available for inspection and copying as under Rule 34 the documents or other evidentiary
     material, not privileged or protected from disclosure, on which such computation is based,
     including materials bearing on the nature and extent of injuries suffered.

      1.         Damages: Plaintiffs’ computation of damages is still being investigated and

ascertained and is therefore yet continuing. Plaintiffs herein provide an initial estimated

computation of damages showing $825,000.00. (see Damages Tables below).

Septic Pumps          Dishwasher          Cook Top             Elevator             Roofing

Est.                  Est.                Est.                 Est.                 Est.
Repair/Replace        Repair/Replace      Repair/Replace       Repair/Replace       Repair/Replace
Costs                 Costs               Costs                Costs                Costs
$12,000.00            $1,500.00           $18,000.00           $125,000.00          $85,000.00 (at
                                                                                    damaged
                                                                                    location)
                                                                                    $175,000.00 (to
                                                                                    replace all roof
                                                                                    membranes)




Heating System        Windows             Waterproofing        Swimming Pool        Electrical
                                                                                    Repairs
Est.                  Est.                Est.                 Est.                 Est.
Repair/Replace        Repair/Replace      Repair/Replace       Repair/Replace       Repair/Replace
Costs                 Costs               Costs                Costs                Costs
$40,000.00            $16,500.00          $55,000.00           $350,000.00          $18,000.00



Landscaping/Irrigation

Est. Repair/Replace
Costs

 INITIAL DISCLOSURES - 5
                                                                                              12673-001
                                                                                          Exhibit A
        Case
          Case
             1:22-cv-00323-CWD
               1:22-cv-00323-CWDDocument
                                  Document
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$14,000.00



    See, Bates No. LLC000084-85; see generally, Bates Nos. LLC000001-000441. Under Rule

34 of the Federal Rules of Civil Procedure, Plaintiffs are producing copies of documents and data

upon which Plaintiffs estimated damages are being based and approximated. See id. The method

for arriving at this initial damages computation is based on the current estimated costs to

repair/replace defects contained at the real property at issue in this matter. Damages noted herein,

and/or those further identified will be described by lay and/or expert witnesses disclosed in keeping

with the current Discovery and Litigation Plans of record and/or as guided by this Court.

    Plaintiffs reserve the right to supplement discovery and disclosures regarding damages,

including for substantiating, noticing, and seeking punitive damages in a pre-trial motion, as new

information is obtained through discovery or other investigate efforts that bears on ascertaining an

amount of damages and/or the methods for calculating the same.


iv. Provide for inspection and copying as under Rule 34, any insurance agreement under which an
    insurance business may be liable to satisfy all or part of a possible judgment in the action or to
    indemnify or reimburse for payments made to satisfy the judgment.

       These is no such policy.


       Respectfully submitted.


        DATED:       September 29, 2022.
                                                     LAWSON LASKI CLARK, PLLC




                                               By:
                                                       Jared C. Kimball
                                                       Attorney for Plaintiffs

 INITIAL DISCLOSURES - 6
                                                                                              12673-001
                                                                                         Exhibit A
      Case
        Case
           1:22-cv-00323-CWD
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                                Document
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                             CERTIFICATE OF SERVICE


        The undersigned hereby certifies that on September 29, 2022, he caused a true and
correct copy of the foregoing instrument to be served on the following persons by the means
indicated:

 Bren E. Mollerup,
 ISB No.7959
 BENOIT LAW
126 2nd Avenue North
 P.O. Box 366
Twin Falls, Idaho 83303-0366
Telephone: (208) 733-5463
Fax: (208) 734-1438
Email: mollerup@benoitlaw.com                     X    CM/ECF E-File Electronic Service
iCourt Service Email:
benoitlaw@benoitlaw.com




                                                Jared C. Kimball




INITIAL DISCLOSURES - 7
                                                                                        12673-001
                                                                                     Exhibit A
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                                    30 Cheval Circle
                                  Repair Items - Budget

1. Septic Pumps – Remove and replace 4 Sewage Ejection Pumps, Remove and Replace vertical
   ejection pipes, Repair control panels and adjust floats.
   - Estimated Cost - $12,000

2. Dishwasher – Remove and Replace Dishwasher, Install Garbage Disposal and Dishwasher
   hookup, Install Electricity to Dishwasher.
   - Estimated Cost - $1,500

3. Cook Top – Remove and Replace Cooktop due to gas leaks
   - Estimated Cost - $18,000

4. Elevator – Remove Existing cab and equipment, Remove Existing Doors at Floors. Install
   new Elevator Cab to meet code. Install access doors and lockouts per code
   - Estimated Cost - $125,000

5. Roofing – Remove and Replace existing membrane roof at damaged locations. Above both
   Garage areas, Above Entry, Above South Staircase and Office. Other Areas not inspected due
   to installed decking.
   - Estimated Cost - $85,000
   - Estimated Cost to replace all roof membranes - $175,000

6. Heating System – The existing hydronic heating system is controlled by one Thermostat for
   multiple zones. The system needs to be zoned correctly and a control system installed. Install
   Zone controls and thermostats.
   - Estimated Cost - $40,000

7. Windows – Remove and replace Windows with Broken Seals.
   - Estimated Cost – $16,500




                         PO BOX 41 Ketchum ID 83340 ● (208)726-9070
                                                                                 Exhibit B
  Case 1:22-cv-00323-CWD Document 28-1 Filed 01/25/23 Page 13 of 37




8. Waterproofing – Remove and Replace Poorly installed waterproofing at window and door
   openings. Remove and replace water damaged Parapet Caps and Fascia supports from
   improper waterproofing.
   - Estimated Cost - $55,000

9. Swimming Pool – Remove existing leaking rubber membrane, remove existing liquid applied
   damp-proofing paint, remove existing nonfunctional pool equipment. Remove rotten wood
   surround at pool rim. Install Liquid Applied Waterproof barrier to concrete surround, Install
   swimming pool and associated mechanical equipment. Install waterproof pool deck and
   coping.
   - Estimated Cost - $350,000

10. Electrical Repairs – Make multiple electrical repairs to make the house safe and functional.
    - Estimated Cost - $18,000

11. Landscaping Irrigation system – Install Landscaping irrigation system to keep existing trees
    and landscaping alive.
    - Estimated Cost - $14,000




                         PO BOX 41 Ketchum ID 83340 ● (208)726-9070
                                                                                 Exhibit B
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                                                             Exhibit C
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                                                   Case 1:22-cv-00323-CWD Document 28-1 Filed 01/25/23 Page 16 of 37

                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                           Units         Price      Value
                                         Matter Description                                               Task Code
                                         Narrative
Activity Code:
        Initials:
                 Date: 7/5/2022
   07/05/2022                            12673-001/ Hart, G.J.                                                      ProcServ                    1.00       215.60      215.60
                                         Hart v. Legends Development Company
                                         Process Server
                                                                                                                          Date: 7/5/2022        1.00                  215.60
                 Date: 8/3/2022
   08/03/2022                            12673-001/ Hart, G.J.                                                      ProcServ                    1.00        65.00       65.00
                                         Hart v. Legends Development Company
                                         Process Server
                                                                                                                          Date: 8/3/2022        1.00                   65.00
                 Date: 8/10/2022
   08/10/2022                            12673-001/ Hart, G.J.                                                      FF                          1.00       228.74      228.74
                                         Hart v. Legends Development Company
                                         Filing Fees
   08/10/2022                            12673-001/ Hart, G.J.                                                      ProcServ                    1.00       150.00      150.00
                                         Hart v. Legends Development Company
                                         Process Server
                                                                                                                         Date: 8/10/2022        2.00                  378.74
                 Date: 1/20/2023
   01/20/2023                            12673-001/ Hart, G.J.                                                      PI                          1.00      1,800.00   1,800.00
                                         Hart v. Legends Development Company
                                         Private Investigator
                                                                                                                         Date: 1/20/2023        1.00                 1,800.00
                                                                                                                               Initials:        5.00                 2,459.34
        Initials: ELA
1/25/2023 12:18:11 PM                                                                                                                      Page 1 of 22
Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

                                                                                                                                                                       Exhibit E
                                                   Case 1:22-cv-00323-CWD Document 28-1 Filed 01/25/23 Page 17 of 37

                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                          Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
                 Date: 12/2/2022
   12/02/2022           ELA              12673-001/ Hart, G.J.                                                      T                          0.30      425.00   127.50
                                         Hart v. Legends Development Company
                                         Conference with J. Kimball regarding
                                         Litigation strategy.
                                                                                                                        Date: 12/2/2022        0.30               127.50
                                                                                                                          Initials: ELA        0.30               127.50
        Initials: JCK
                 Date: 6/6/2022
   06/06/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Review email correspondence and
                                         attachments from client.
                                                                                                                         Date: 6/6/2022        0.40               120.00
                 Date: 6/7/2022
   06/07/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Digest client emails and documents.
   06/07/2022           JCK              12673-001/ Hart, G.J.                                                      T                          1.50      300.00   450.00
                                         Hart v. Legends Development Company
                                         Review client documents; develop follow
                                         up questions and outline possible claims
                                         for Complaint.
                                                                                                                         Date: 6/7/2022        1.90               570.00
                 Date: 6/8/2022




1/25/2023 12:18:11 PM                                                                                                                     Page 2 of 22
Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

                                                                                                                                                                   Exhibit E
                                                   Case 1:22-cv-00323-CWD Document 28-1 Filed 01/25/23 Page 18 of 37

                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                         Units       Price      Value
                                         Matter Description                                               Task Code
                                         Narrative
   06/08/2022           JCK              12673-001/ Hart, G.J.                                                      T                         2.20      300.00     660.00
                                         Hart v. Legends Development Company
                                         Research remedies regarding rescission v
                                         specific performance; outline facts and
                                         other causes of action.
   06/08/2022           JCK              12673-001/ Hart, G.J.                                                      T                         0.25      300.00      75.00
                                         Hart v. Legends Development Company
                                         Email correspondence with clients.
   06/08/2022           JCK              12673-001/ Hart, G.J.                                                      T                         6.25      300.00   1,875.00
                                         Hart v. Legends Development Company
                                         Prepare first draft of Complaint; review
                                         client documents; prepare outline of other
                                         documents needed; research Writ of
                                         Attachment; create a "to do" list for
                                         client.
                                                                                                                        Date: 6/8/2022        8.70               2,610.00
                 Date: 6/9/2022
   06/09/2022           JCK              12673-001/ Hart, G.J.                                                      T                         0.60      300.00     180.00
                                         Hart v. Legends Development Company
                                         Edit Complaint draft; add to list of
                                         documents needed from client for
                                         background and follow-up.
   06/09/2022           JCK              12673-001/ Hart, G.J.                                                      T                         0.80      300.00     240.00
                                         Hart v. Legends Development Company
                                         Telephone conference with clients
                                         regarding case background.
   06/09/2022           JCK              12673-001/ Hart, G.J.                                                      T                         0.20      300.00      60.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Preston
                                         Ziegler regarding repairs at the house.



1/25/2023 12:18:11 PM                                                                                                                    Page 3 of 22
Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

                                                                                                                                                                   Exhibit E
                                                   Case 1:22-cv-00323-CWD Document 28-1 Filed 01/25/23 Page 19 of 37

                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                          Units       Price      Value
                                         Matter Description                                               Task Code
                                         Narrative
   06/09/2022           JCK              12673-001/ Hart, G.J.                                                      T                          3.70      300.00   1,110.00
                                         Hart v. Legends Development Company
                                         Edit Amended Complaint; draft to
                                         expand counts; research mutual mistake;
                                         review client materials.
                                                                                                                         Date: 6/9/2022        5.30               1,590.00
                 Date: 6/10/2022
   06/10/2022           JCK              12673-001/ Hart, G.J.                                                      T                          2.25      300.00     675.00
                                         Hart v. Legends Development Company
                                         Research property condition disclosure
                                         duties and fraud/mutual mistake/and
                                         rescission issues.
   06/10/2022           JCK              12673-001/ Hart, G.J.                                                      T                          4.00      300.00   1,200.00
                                         Hart v. Legends Development Company
                                         Revise draft Complaint; incorporate
                                         client input and background; edit all
                                         counts.
                                                                                                                        Date: 6/10/2022        6.25               1,875.00
                 Date: 6/13/2022
   06/13/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.75      300.00     225.00
                                         Hart v. Legends Development Company
                                         Edit verified Complaint.
   06/13/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.25      300.00      75.00
                                         Hart v. Legends Development Company
                                         Call to Mark Brown regarding Records.
   06/13/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.25      300.00      75.00
                                         Hart v. Legends Development Company
                                         Email correspondence with clients
                                         regarding items we need.



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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

                                                                                                                                                                    Exhibit E
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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                          Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
   06/13/2022           JCK              12673-001/ Hart, G.J.                                                      T                          1.20      300.00   360.00
                                         Hart v. Legends Development Company
                                         Review new client documents.
                                                                                                                        Date: 6/13/2022        2.45               735.00
                 Date: 6/14/2022
   06/14/2022           JCK              12673-001/ Hart, G.J.                                                      T                          2.40      300.00   720.00
                                         Hart v. Legends Development Company
                                         Review new client emails and
                                         attachments; research seller's disclosure
                                         statute and case law; call with Mark
                                         Brown.
                                                                                                                        Date: 6/14/2022        2.40               720.00
                 Date: 6/16/2022
   06/16/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Call to Mark Brown; email
                                         correspondence to clients.
                                                                                                                        Date: 6/16/2022        0.40               120.00
                 Date: 6/17/2022
   06/17/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.60      300.00   180.00
                                         Hart v. Legends Development Company
                                         Call with client; review client documents.
   06/17/2022           JCK              12673-001/ Hart, G.J.                                                      T                          1.20      300.00   360.00
                                         Hart v. Legends Development Company
                                         Review email correspondence and
                                         attachments from Mark Brown.
                                                                                                                        Date: 6/17/2022        1.80               540.00
                 Date: 6/20/2022


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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                          Units       Price      Value
                                         Matter Description                                               Task Code
                                         Narrative
   06/20/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.50      300.00     150.00
                                         Hart v. Legends Development Company
                                         Email correspondence with client and
                                         review new materials.
                                                                                                                        Date: 6/20/2022        0.50                150.00
                 Date: 6/21/2022
   06/21/2022           JCK              12673-001/ Hart, G.J.                                                      T                          2.25      300.00     675.00
                                         Hart v. Legends Development Company
                                         Digest Mark Brown email
                                         correspondence and attachments.
                                                                                                                        Date: 6/21/2022        2.25                675.00
                 Date: 6/23/2022
   06/23/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.75      300.00     225.00
                                         Hart v. Legends Development Company
                                         Review Mark Brown Documents;
                                         Telephone conference with client; review
                                         Draft Complaint.
                                                                                                                        Date: 6/23/2022        0.75                225.00
                 Date: 6/24/2022
   06/24/2022           JCK              12673-001/ Hart, G.J.                                                      T                          4.50      300.00   1,350.00
                                         Hart v. Legends Development Company
                                         Revise Complaint; review client
                                         documents and Mark Brown Records and
                                         emails; Prepare Summons; research
                                         Service on Foreign Corporation; research
                                         Defenses for Engman; digest Inspection
                                         Report and I.C. 55-2501
                                                                                                                        Date: 6/24/2022        4.50               1,350.00
                 Date: 6/28/2022

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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                          Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
   06/28/2022           JCK              12673-001/ Hart, G.J.                                                      T                          2.50      300.00   750.00
                                         Hart v. Legends Development Company
                                         Review and Edit Complaint; finalize all
                                         Documents and Exhibits for filing.
                                                                                                                        Date: 6/28/2022        2.50               750.00
                 Date: 6/29/2022
   06/29/2022           JCK              12673-001/ Hart, G.J.                                                      T                          1.75      300.00   525.00
                                         Hart v. Legends Development Company
                                         Calls with Process Server regarding
                                         Strategy for serving Engman.
   06/29/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.25      300.00    75.00
                                         Hart v. Legends Development Company
                                         Scout locations for Bingham; Colonnade;
                                         research other service options.
                                                                                                                        Date: 6/29/2022        2.00               600.00
                 Date: 7/1/2022
   07/01/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.75      300.00   225.00
                                         Hart v. Legends Development Company
                                         Calls with Process Server; Prepare Notice
                                         of Service of Summons/Complaint for
                                         Court Filing.
                                                                                                                         Date: 7/1/2022        0.75               225.00
                 Date: 7/29/2022
   07/29/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.75      300.00   225.00
                                         Hart v. Legends Development Company
                                         Review Defendant's Motion to Remove
                                         to Federal Court; research for Response
                                         to Remand.
                                                                                                                        Date: 7/29/2022        0.75               225.00

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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                          Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
                 Date: 8/2/2022
   08/02/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.20      300.00    60.00
                                         Hart v. Legends Development Company
                                         Email correspondence with clients on
                                         Update of Case Status.
                                                                                                                         Date: 8/2/2022        0.20                60.00
                 Date: 8/9/2022
   08/09/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.75      300.00   225.00
                                         Hart v. Legends Development Company
                                         Telephone conference with counsel;
                                         review Pleadings; research removal and
                                         diversity of Corporation.
                                                                                                                         Date: 8/9/2022        0.75               225.00
                 Date: 8/10/2022
   08/10/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.50      300.00   150.00
                                         Hart v. Legends Development Company
                                         Review client email correspondence;
                                         review Purchase & Sales Agreement and
                                         Addendum; Telephone conference with
                                         client.
   08/10/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.50      300.00   150.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Mark Brown;
                                         Telephone conference with G.J.
                                                                                                                        Date: 8/10/2022        1.00               300.00
                 Date: 8/17/2022
   08/17/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.60      300.00   180.00
                                         Hart v. Legends Development Company
                                         Review Federal and State Court Case
                                         Law; email correspondence with clients.
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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                          Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
   08/17/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.60      300.00   180.00
                                         Hart v. Legends Development Company
                                         Review Diversity Jurisdiction
                                         Authorities.
                                                                                                                        Date: 8/17/2022        1.20               360.00
                 Date: 8/19/2022
   08/19/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Review client emails; Telephone
                                         conference with client.
                                                                                                                        Date: 8/19/2022        0.40               120.00
                 Date: 8/26/2022
   08/26/2022           JCK              12673-001/ Hart, G.J.                                                      T                          2.40      300.00   720.00
                                         Hart v. Legends Development Company
                                         Review Federal Rules for Litigation and
                                         Discovery Plan; Review Defendant's
                                         Answer to Complaint; research possible
                                         defects in removal.
                                                                                                                        Date: 8/26/2022        2.40               720.00
                 Date: 8/30/2022
   08/30/2022           JCK              12673-001/ Hart, G.J.                                                      T                          0.60      300.00   180.00
                                         Hart v. Legends Development Company
                                         Review new Pleadings on new Counsel;
                                         email correspondence with client;
                                         Telephone conference with current
                                         counsel.
                                                                                                                        Date: 8/30/2022        0.60               180.00
                 Date: 9/6/2022


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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                           Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
   09/06/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.25      300.00    75.00
                                         Hart v. Legends Development Company
                                         Edit and review Discovery and Litigation
                                         plan; email correspondence with counsel.
                                                                                                                         Date: 9/6/2022         0.25                75.00
                 Date: 9/16/2022
   09/16/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Review Court Scheduling Order; email
                                         correspondence with client.
                                                                                                                        Date: 9/16/2022         0.40               120.00
                 Date: 9/20/2022
   09/20/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.75      300.00   225.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Preston;
                                         email correspondence with counsel;
                                         organize and review Discovery for
                                         Disclosure.
   09/20/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Review Discovery and additional client
                                         materials.
                                                                                                                        Date: 9/20/2022         1.15               345.00
                 Date: 9/21/2022
   09/21/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Texts to Preston; review Discovery
                                         requirements.
                                                                                                                        Date: 9/21/2022         0.40               120.00

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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                           Units       Price     Value
                                         Matter Description                                               Task Code
                                         Narrative
                 Date: 9/22/2022
   09/22/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.75      300.00    225.00
                                         Hart v. Legends Development Company
                                         Prepare for and attend Telephone
                                         conference with Opposing Counsel
                                         regarding settlement.
   09/22/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.50      300.00    150.00
                                         Hart v. Legends Development Company
                                         Email correspondence with Counsel;
                                         Telephone conference with Preston
                                         Ziegler.
                                                                                                                        Date: 9/22/2022         1.25                375.00
                 Date: 9/26/2022
   09/26/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.10      300.00     30.00
                                         Hart v. Legends Development Company
                                         Email correspondence with clients
                                         regarding update on the matter.
   09/26/2022           JCK              12673-001/ Hart, G.J.                                                      T                           1.10      300.00    330.00
                                         Hart v. Legends Development Company
                                         Research Rule 26(A) (1) electronically
                                         stored information for upcoming
                                         disclosure deadline to compile responsive
                                         documents to disclose under the rule.
                                                                                                                        Date: 9/26/2022         1.20                360.00
                 Date: 9/28/2022
   09/28/2022           JCK              12673-001/ Hart, G.J.                                                      T                           3.75      300.00   1,125.00
                                         Hart v. Legends Development Company
                                         Prepare Initial Disclosures; review all
                                         Bates Numbers and Potential Witnesses;
                                         damage calculations.


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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                           Units       Price      Value
                                         Matter Description                                               Task Code
                                         Narrative
   09/28/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.10      300.00      30.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Preston at
                                         Sawtooth Construction.
                                                                                                                        Date: 9/28/2022         3.85               1,155.00
                 Date: 9/29/2022
   09/29/2022           JCK              12673-001/ Hart, G.J.                                                      T                           1.40      300.00     420.00
                                         Hart v. Legends Development Company
                                         Research Punitive Damages; edit
                                         damages and the Initial Rule 26
                                         Disclosures; review all Bates Production.
   09/29/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.75      300.00     225.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Mark Brown;
                                         Telephone conference with Pioneer Title;
                                         email correspondence with counsel;
                                         review prior email correspondence with
                                         counsel and Damage numbers.
                                                                                                                        Date: 9/29/2022         2.15                645.00
                 Date: 10/4/2022
   10/04/2022           JCK              12673-001/ Hart, G.J.                                                      T                           1.25      300.00     375.00
                                         Hart v. Legends Development Company
                                         Research Inter pleader as remedy for
                                         obtaining funds held in Escrow; review
                                         client documents and Purchase & Sales
                                         Agreement hold-back.
                                                                                                                        Date: 10/4/2022         1.25                375.00
                 Date: 10/5/2022



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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
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                                     Lawson Laski Clark, PLLC
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   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                            Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
   10/05/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.90      300.00   270.00
                                         Hart v. Legends Development Company
                                         Telephone conference and email
                                         correspondence with clients.
   10/05/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.60      300.00   180.00
                                         Hart v. Legends Development Company
                                         Email correspondence with client;
                                         Telephone conference with Counsel;
                                         review client documents.
                                                                                                                         Date: 10/5/2022         1.50               450.00
                 Date: 10/10/2022
   10/10/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.25      300.00    75.00
                                         Hart v. Legends Development Company
                                         Follow up email correspondence to
                                         Preston regarding Itemized invoices.
                                                                                                                        Date: 10/10/2022         0.25                75.00
                 Date: 10/13/2022
   10/13/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Review Sawtooth Construction email
                                         correspondence and client documents.
   10/13/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.25      300.00    75.00
                                         Hart v. Legends Development Company
                                         Telephone conference with client
                                         regarding Hold back and escrow.
                                                                                                                        Date: 10/13/2022         0.65               195.00
                 Date: 10/14/2022




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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
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   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                            Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
   10/14/2022           JCK              12673-001/ Hart, G.J.                                                      T                            1.00      300.00   300.00
                                         Hart v. Legends Development Company
                                         Email correspondence with Pioneer Title;
                                         Telephone conference with Paige; review
                                         Purchase & Sales Agreement and Preston
                                         Invoicing.
   10/14/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.90      300.00   270.00
                                         Hart v. Legends Development Company
                                         Draft letter to Pioneer Title.
   10/14/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.20      300.00    60.00
                                         Hart v. Legends Development Company
                                         Telephone conference with clients
                                                                                                                        Date: 10/14/2022         2.10               630.00
                 Date: 10/16/2022
   10/16/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.50      300.00   150.00
                                         Hart v. Legends Development Company
                                         Review new Escrow paperwork provided
                                         by Pioneer Title; review Purchase &
                                         Sales Agreement, client documents, and
                                         Mark Brown email correspondence.
                                                                                                                        Date: 10/16/2022         0.50               150.00
                 Date: 10/19/2022
   10/19/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.75      300.00   225.00
                                         Hart v. Legends Development Company
                                         Review Escrow documents; email
                                         correspondence with counsel.
                                                                                                                        Date: 10/19/2022         0.75               225.00
                 Date: 10/25/2022



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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
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   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                            Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
   10/25/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.75      300.00   225.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Preston and
                                         Paige; review Sawtooth invoices.
                                                                                                                        Date: 10/25/2022         0.75               225.00
                 Date: 10/26/2022
   10/26/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.50      300.00   150.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Preston
                                         Ziegler regarding Invoices.
   10/26/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.60      300.00   180.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Counsel
                                         regarding windows and hold-back money.
                                                                                                                        Date: 10/26/2022         1.10               330.00
                 Date: 10/27/2022
   10/27/2022           JCK              12673-001/ Hart, G.J.                                                      T                            1.20      300.00   360.00
                                         Hart v. Legends Development Company
                                         Prepare email correspondence to Counsel
                                         regarding clarifying hold back monies
                                         and repairs, status of windows; obtain
                                         dates to depose G. Engman; review
                                         Purchase & Sales Agreement and
                                         additional client documents.
   10/27/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.60      300.00   180.00
                                         Hart v. Legends Development Company
                                         Review Subpoena Rules; review Escrow
                                         Agreement.
                                                                                                                        Date: 10/27/2022         1.80               540.00
                 Date: 11/7/2022

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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                           Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
   11/07/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.75      300.00   225.00
                                         Hart v. Legends Development Company
                                         Email correspondence with Paige at
                                         Pioneer Title Company; email
                                         correspondence with Counsel regarding
                                         Hold-back Monies and releasing it to the
                                         Plaintiffs.
                                                                                                                        Date: 11/7/2022         0.75               225.00
                 Date: 11/8/2022
   11/08/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Mark Brown;
                                         review Pioneer Title documents.
                                                                                                                        Date: 11/8/2022         0.40               120.00
                 Date: 11/9/2022
   11/09/2022           JCK              12673-001/ Hart, G.J.                                                      T                           0.70      300.00   210.00
                                         Hart v. Legends Development Company
                                         Review Hold-back Contract; review notes
                                         for Telephone conferences with Counsel
                                         and Mark Brown; prepare Notice of
                                         Deposition.
                                                                                                                        Date: 11/9/2022         0.70               210.00
                 Date: 11/10/2022
   11/10/2022           JCK              12673-001/ Hart, G.J.                                                      T                           1.25      300.00   375.00
                                         Hart v. Legends Development Company
                                         Telephone conference with counsel;
                                         review Hold back instructions; email
                                         correspondence with counsel regarding
                                         Disburse Hold back money; provide
                                         windows; deposition planning; email
                                         correspondence with client.
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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                            Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
                                                                                                                        Date: 11/10/2022         1.25               375.00
                 Date: 11/17/2022
   11/17/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.75      300.00   225.00
                                         Hart v. Legends Development Company
                                         Review email correspondence from
                                         Counsel; review Escrow terms; email
                                         correspondence with client with update.
                                                                                                                        Date: 11/17/2022         0.75               225.00
                 Date: 11/22/2022
   11/22/2022           JCK              12673-001/ Hart, G.J.                                                      T                            1.25      300.00   375.00
                                         Hart v. Legends Development Company
                                         Prepare and attend call with client;
                                         Telephone conference with Preston
                                         Sawtooth Construction; review client
                                         documents.
                                                                                                                        Date: 11/22/2022         1.25               375.00
                 Date: 11/23/2022
   11/23/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.25      300.00    75.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Mark Brown
                                         regarding Gary Engman.
                                                                                                                        Date: 11/23/2022         0.25                75.00
                 Date: 12/2/2022
   12/02/2022           JCK              12673-001/ Hart, G.J.                                                      T                            1.40      300.00   420.00
                                         Hart v. Legends Development Company
                                         Review Inter pleader action and process;
                                         review client documents; email
                                         correspondence with Pioneer Title.
                                                                                                                         Date: 12/2/2022         1.40               420.00

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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                            Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
                 Date: 12/5/2022
   12/05/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.50      300.00   150.00
                                         Hart v. Legends Development Company
                                         Revise Deposition Notice; review Court
                                         Scheduling Order; serve Engman with
                                         Notice of Deposition.
                                                                                                                         Date: 12/5/2022         0.50               150.00
                 Date: 12/13/2022
   12/13/2022           JCK              12673-001/ Hart, G.J.                                                      T                            1.25      300.00   375.00
                                         Hart v. Legends Development Company
                                         Telephone conference with Paige,
                                         Telephone conference with counsel;
                                         research Federal inter pleader; review
                                         client documents and email
                                         correspondence.
   12/13/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.40      300.00   120.00
                                         Hart v. Legends Development Company
                                         Research Federal inter pleader case
                                         research; Telephone conference with
                                         Counsel for Pioneer Title.
                                                                                                                        Date: 12/13/2022         1.65               495.00
                 Date: 12/21/2022
   12/21/2022           JCK              12673-001/ Hart, G.J.                                                      T                            1.00      300.00   300.00
                                         Hart v. Legends Development Company
                                         Draft response to Motion to Withdraw;
                                         review case law.
                                                                                                                        Date: 12/21/2022         1.00               300.00
                 Date: 12/22/2022



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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                            Units       Price    Value
                                         Matter Description                                               Task Code
                                         Narrative
   12/22/2022           JCK              12673-001/ Hart, G.J.                                                      T                            1.10      300.00   330.00
                                         Hart v. Legends Development Company
                                         Prepare Response to Engman's Motion to
                                         Withdraw; review Federal Rules on
                                         substituting counsel.
                                                                                                                        Date: 12/22/2022         1.10               330.00
                 Date: 12/23/2022
   12/23/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.75      300.00   225.00
                                         Hart v. Legends Development Company
                                         Review Counsel's Motion and Court
                                         Order; research rules on Withdrawal.
                                                                                                                        Date: 12/23/2022         0.75               225.00
                 Date: 12/27/2022
   12/27/2022           JCK              12673-001/ Hart, G.J.                                                      T                            0.60      315.00   189.00
                                         Hart v. Legends Development Company
                                         Prepare Notice Vacating Deposition;
                                         email correspondence with client.
                                                                                                                        Date: 12/27/2022         0.60               189.00
                 Date: 1/3/2023
   01/03/2023           JCK              12673-001/ Hart, G.J.                                                      T                            0.75      315.00   236.25
                                         Hart v. Legends Development Company
                                         Telephone conference and email
                                         correspondence with James Quitana; Tri-
                                         County process; and email
                                         correspondence with clients.
   01/03/2023           JCK              12673-001/ Hart, G.J.                                                      T                            0.40      315.00   126.00
                                         Hart v. Legends Development Company
                                         Email correspondence with James
                                         Quitana regarding Engman details.
                                                                                                                          Date: 1/3/2023         1.15               362.25
1/25/2023 12:18:11 PM                                                                                                                      Page 19 of 22
Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
date <= Ask User('Please enter an ending date (MM/DD/YYYY)')

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                                     Lawson Laski Clark, PLLC
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   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                           Units       Price      Value
                                         Matter Description                                               Task Code
                                         Narrative
                 Date: 1/17/2023
   01/17/2023           JCK              12673-001/ Hart, G.J.                                                      T                           0.40      315.00     126.00
                                         Hart v. Legends Development Company
                                         Review Order regarding Default; read
                                         through statute.
   01/17/2023           JCK              12673-001/ Hart, G.J.                                                      T                           0.75      315.00     236.25
                                         Hart v. Legends Development Company
                                         Research default provisions, local rules
                                         and statutes.
                                                                                                                        Date: 1/17/2023         1.15                362.25
                 Date: 1/19/2023
   01/19/2023           JCK              12673-001/ Hart, G.J.                                                      T                           2.25      315.00     708.75
                                         Hart v. Legends Development Company
                                         Review Court Order; draft and finalize
                                         Request for Default and Affidavit in
                                         Support of Default; read Federal Rules on
                                         Default Judgment.
                                                                                                                        Date: 1/19/2023         2.25                708.75
                 Date: 1/22/2023
   01/22/2023           JCK              12673-001/ Hart, G.J.                                                      T                           3.25      315.00   1,023.75
                                         Hart v. Legends Development Company
                                         Research Rule 55 default judgment; read
                                         Local District Rules for Federal Court;
                                         draft Motion for Default, default
                                         judgment, affidavit in support of motion;
                                         compile exhibits; read prior client
                                         materials and discovery.
                                                                                                                        Date: 1/22/2023         3.25               1,023.75
                 Date: 1/23/2023


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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
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                                     Lawson Laski Clark, PLLC
                                                                     Listing
   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                           Units       Price       Value
                                         Matter Description                                               Task Code
                                         Narrative
   01/23/2023           JCK              12673-001/ Hart, G.J.                                                      T                           3.75      315.00    1,181.25
                                         Hart v. Legends Development Company
                                         Research Default Judgment Cases review
                                         and perform damage calculations; draft
                                         Motion for default judgment, affidavit in
                                         support of motion, and the proposed order
                                         for default.
                                                                                                                        Date: 1/23/2023         3.75                1,181.25
                                                                                                                          Initials: JCK       95.35                28,787.25
        Initials: KRF
                 Date: 7/29/2022
   07/29/2022           KRF              12673-001/ Hart, G.J.                                                      T                           0.20      230.00       46.00
                                         Hart v. Legends Development Company
                                         Review Notice of Removal; email
                                         correspondence with J. Kimball regarding
                                         same.
                                                                                                                        Date: 7/29/2022         0.20                  46.00
                 Date: 8/15/2022
   08/15/2022           KRF              12673-001/ Hart, G.J.                                                      T                           0.60      230.00      138.00
                                         Hart v. Legends Development Company
                                         Review Notice of Filing of Removal;
                                         research regarding same; conference with
                                         J. Kimball regarding same.
                                                                                                                        Date: 8/15/2022         0.60                 138.00
                 Date: 8/16/2022
   08/16/2022           KRF              12673-001/ Hart, G.J.                                                      T                           1.20      230.00      276.00
                                         Hart v. Legends Development Company
                                         Research regarding Diversity
                                         Jurisdiction; email correspondence with
                                         J. Kimball.
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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
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                                     Lawson Laski Clark, PLLC
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   Date                 Prof             Matter ID/Client Sort                              Activity Code Component                           Units       Price        Value
                                         Matter Description                                               Task Code
                                         Narrative
                                                                                                                        Date: 8/16/2022         1.20                  276.00
                 Date: 8/26/2022
   08/26/2022           KRF              12673-001/ Hart, G.J.                                                      T                           0.50      230.00       115.00
                                         Hart v. Legends Development Company
                                         Conference with J. Kimball regarding
                                         removal and remand; review file.
                                                                                                                        Date: 8/26/2022         0.50                  115.00
                 Date: 8/30/2022
   08/30/2022           KRF              12673-001/ Hart, G.J.                                                      T                           0.20      230.00        46.00
                                         Hart v. Legends Development Company
                                         Review Motion to Withdraw; conference
                                         with J. Kimball regarding same.
                                                                                                                        Date: 8/30/2022         0.20                    46.00
                 Date: 9/6/2022
   09/06/2022           KRF              12673-001/ Hart, G.J.                                                      T                           2.40      230.00       552.00
                                         Hart v. Legends Development Company
                                         Review Complaint; review and revise
                                         Discovery Plan and Litigation Plan.
                                                                                                                         Date: 9/6/2022         2.40                  552.00
                                                                                                                          Initials: KRF         5.10                 1,173.00
                                                                                                                        Activity Code:      105.75                  32,547.09
                                                                                                                         Grand Total:       105.75                 $32,547.09




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Matter ID=Ask User('Please enter a Matter ID') and date >= Ask User('Please enter a start date (MM/DD/YYYY)') and
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